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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

United States of America


      v.                                      Docket No. 1:21-CR-178-APM


Markus Maly

                     Defendant’s Sentencing Memorandum

      Mr. Maly is before the court having been convicted after trial of several

crimes related to the January 6 attack on the Capitol. He asks the court to vary

below the guidelines because the guidelines do not and cannot provide a just

sentence for his actions that day. Though a jury of his peers convicted him, and to

be sure, Mr. Maly engaged in wrongful behavior that day, the events of January 6

were unique in their causes and consequences. Mr. Maly fervently believed that the

2020 election was being stolen. He fervently believed that he was protesting in the

name of liberty and freedom. His motives, however (factually) wrong they may have

been, were based in values this country celebrates. What is more American than

fervently defending democracy—even from one’s own government—and perhaps

especially then? And how ought we to punish someone who, in the throws of such a

protest, engaged in minor criminal behavior that was consequential only because it

was replicated by thousands? To answer these questions the court must confront

issues central to what it means to be American. And in recognizing Mr. Maly’s

humanity, he asks this court to impose a sentence far outside the advisory range
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and far below the government’s request. Mr. Maly’s counsel suggests that such a

sentence is thirty-six months.

      On the one hand, the court could examine the actions of Mr. Maly in briefly

using a cannister of presumed pepper spray against police officers and in

trespassing on Capitol grounds. Alone his actions were insignificant and would not

be worthy of a lengthy term of imprisonment. It is only because he was a member of

a large mob that his actions had any meaningful impact on society. But his

participation in that mob also mitigates his culpability. He acted like thousands of

others did in a (rather prolonged) moment of uncertainty, among thousands of like-

minded folk, in a unique circumstance not yet faced by this country. Sending Mr.

Maly to a lengthy term of imprisonment will not help to stop another January 6

from occurring, nor is such a sentence necessary for Mr. Maly, who has turned his

life around and behaved admirably on pretrial release. A sentence commensurate

with many of those convicted of similar actions is called for. Such a sentence

recognizes the humanity of Mr. Maly as an individual, not merely as one of

countless rioters. Such a sentence is commensurate with this court’s responsibility

under 18 U.S.C. 3553(a). And such a sentence is commensurate with the grace with

which the victors ought to treat the vanquished. Such a sentence is, in this case,

thirty six months of incarceration followed by a period of supervised release.

Why we all bear responsibility for January 6th.

      For its entire existence, the promise of America has stood in stark contrast to

the America that exists. Concepts central to the nation’s founding were betrayed in
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its governing document, which recognized that some people could be worth 3/5 a

human, and for all its talk of representation, never enshrined a constitutional right

to vote. Centuries later, we still battle the same dichotomy, but we understand that

governance is something that requires our participation. In search of the promise of

America, people have sought to make this country better. In so doing, they recognize

a duality between America as she is and America as she ought to be. Others have

exploited that duality and argued those seeking progress are undermining

America’s promises, not furthering them. Until we have not achieved the promise of

America for all, we bear some responsibility for the actions of those who wrongly

thought they were helping this country, not harming her. January 6 is part of our

history, and the court cannot sentence Mr. Maly without first reckoning with the

role America played in bringing about the attempted insurrection.1

       In this country, we say the national anthem before sporting events—

glorifying our country’s early history of fighting against tyranny. Nearly everyone

stands, and crowds of tens of thousands grow silent to show respect for a flag—not

because the fabric deserves respect, but because of the symbolism that it conveys.

Usually the flag will be presented by members of the military dressed in uniform.

Sometimes law enforcement comprises the color guard. Many in the crowd may

believe that they are showing respect for those who have fought and died for the



1Mr. Maly notes the obvious here, that he was not charged with seditious conspiracy or many other
more-serious charges leveled against organizers, planners, or the seriously violent participants of
January 6. He was, rather, someone who was called to Washington by the president, who arrived
with peaceful intentions, and who later was found to have committed criminal acts that were part of
an attempted insurrection. In recognizing the enormity of the event, Mr. Maly does not argue that
his actions were similar to those most culpable nor that he should be treated as such.
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“land of the free and the home of the brave.” Inherent to this gesture is our

populace’s respect for those who use force in the name of liberty—either on the

battlefield or the home front. But then again, not all feel this way.

      Indeed, many people have found peaceful demonstrations made during the

national anthem to be disrespectful. The celebrated rights activist and athlete Colin

Kaepernick lost his contract for the simple act of taking a respectful knee during

the national anthem before football games (a sport that depends on and celebrates

violence). Our country was not even prepared to address this simple, quiet protest—

how can we expect the country to have been prepared to address claims that its

electoral process was hijacked?

      Many young children grow up saying the “Pledge of Allegiance” each day at

the beginning of school. Though they may recite the words only out of habit, we are

asking each young person literally to pledge their allegiance to a country. A tall ask

for children many of whom cannot possibly comprehend the true meaning of

pledging one’s allegiance to a flag or to the “republic for which it stands.” But then

again, not all feel this way. See, e.g., West Virginia State Board of Education v.

Barnette, 319 U.S. 624 (1943) (finding unconstitutional a requirement that school

children say the pledge of allegiance).

      Every July, millions gather to celebrate our country declaring its own

independence. We set off literal explosions in the sky to commemorate what we

believe this country to represent and to commemorate those who have worked to
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ensure the promise of liberty can be felt by all. But then again, not all feel this way.

See, e.g., Frederick Douglas, What to the Slave is the 4th of July?, July 5, 1852.

      These are three simple traditions that are enshrined into American culture

that demonstrate both the celebration of America’s (often violent) pursuit of liberty

and the fact that many disagree about how we celebrate it and how we ought to

achieve it. These traditions help to show that America relies on its citizens being

willing to stand up for—and to fight for—liberty when it appears threatened. We

celebrate those who have died in the name of liberty, and we ask nearly every child

to pledge allegiance to this country. What do we expect our citizens to do when the

leader of the country (and someone often referred to as the leader of the free world)

asks them to “fight like hell” in support of his cause.

Why this country’s history also shows that we should act with grace

toward those who, though wrongly, also seek the promise of America.

      Of course, this country does not have a linear history of ensuring that all who

live in it can achieve the prosperity sought by the nation’s founders. This country

was founded on land stolen from natives and conquered in the name of progress. Its

original sin may have been the systematic centuries-long push to subjugate Native

Americans, or it may have been the systematic enslavement of entire peoples who

were kidnapped and chained for not only their lives, but for the lives of their

children and their children’s children—and on for generations. More than one

hundred and fifty years since we fought a war with ourselves to settle the question
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of slavery, this country still struggles with, and fails to account for, its treatment of

Black Americans.

      This is to say that few things are as American as defending core beliefs about

democracy—right or wrong though they may be. We have gone to war with others

and with ourselves in the name of liberty and justice. We have invaded other

countries in the name of liberty and justice. We have changed the past in the name

of liberty and justice. Many times we have acted wrongly in the name of liberty and

justice though our motives may have been honorable. Mr. Maly does not ask this

court to condone his actions on January 6, wrongly done in the name of liberty and

justice. But he asks the court to understand why some might have felt compelled to

protest, and to occasionally protest with force, when they legitimately believed that

doing so was necessary to save democracy.

      America has a horrific history when it comes to mob mentality and the

behaviors of individuals who are members of a larger crowd. In many respects, we

have failed to confront exactly how we should address the violent actions of

individuals when done among others. Rather than seek to end the causes of

violence, America has largely resolved to scapegoat individuals’ actions, whether

the incidents were isolated or pervasive. We have done this with police officers who

engage in misconduct. We have done this with men who engage in sexual violence.

We have done this with Wall Street executives who have caused massive financial

loss. And we can choose to do this with people who believed the 2020 election was

stolen.
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      Harper Lee confronted this dynamic in To Kill a Mockingbird. Faced with an

accusation of a Black man assaulting a white woman, a lynch mob assembled to

exert its own perverted form of justice. But how were we to view those in the mob?

It was not a show of force that stopped the mob, and Atticus’s presence and reason

would have been futile. And all the factual and legal arguments in the world failed

to stop a different kind of mob assembled in the courtroom that also exerted its own

perverted form of justice. But Scout was able to get the mob to dissipate by

appealing to someone’s humanity—specifically, to Mr. Cunningham’s humanity. It

was only by reminding him of those aspects they shared that the mob disappeared

and became a group of people. This court faces a similar dilemma in sentencing Mr.

Maly. All the reason, facts, and arguments in the world cannot convince a person

that his beliefs about the election were unfounded, wrong, or based on lies. To the

extent the court would send a message to that mob that was assembled, such

message cannot take the form of reason for it to be impactful. It must instead

recognize Mr. Maly’s humanity. And that is what he asks the court to do in

sentencing him. Not to condone his actions—he was found guilty. Not to excuse

them—he acknowledges the need for punishment. But to consider the role that

grace ought to play given gravity of the events surrounding Mr. Maly’s criminal

activity. In considering how to respond to once in a generation acts of violence, this

country could chose to follow its own (failed) history or that of others. See Pieter

Hugo and Susan Dominus, Portraits of Reconciliation: 20 years after the genocide in

Rwanda, reconciliation still happens one encounter at a time, N.Y. Times., April 6,
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2014, available at https://www.nytimes.com/interactive/2014/04/06/magazine/06-

pieter-hugo-rwanda-portraits.html.

      The sentencing guidelines ask the court to make a scapegoat of Mr. Maly—to

sentence him more harshly than nearly any others who have engaged in similar

conduct. The only meaningful distinction between Mr. Maly and others is that he

was convicted after a trial at which he testified. But in the face of what led to the

events of January 6, should those factors account for the bulk of his sentence?

Surely not.

Why Mr. Maly’s conduct is not deserving of a lengthy prison sentence.

      Mr. Maly did not bring weapons with him when he came to Washington on

January 6. Instead, he packed a couple of ham sandwiches. He did not bring body

armor with him, zip ties, or radio equipment. He did not bring a uniform, gas mask,

or truncheon. He came to watch the president speak, as he was invited to do. Mr.

Maly’s lack of preparation for any assault helps to show that he was not planning to

engage in any criminal actions that day. This absence of premeditation mitigates

his culpability. More importantly, the fact that Mr. Maly did not bring a weapon

demonstrates that his crimes were merely those of opportunity—and an opportunity

unique in this country’s history. Had nearly empty pepper spray cans not been

tossed about, Mr. Maly may never have even held a weapon. Unlike many this court

is sentencing, Mr. Maly’s only use of pepper spray was barely observable. Contrast

the sprays of hundreds that day which were persistent and visible for long periods
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of time with the sprays attributed to Mr. Maly—all of which last less than a second

and are barely visible.

       Moreover, Mr. Maly did not engage in physical acts of violence. Mr. Maly was

only at the front of the mob for seconds. And rather than pound against the line of

officers barricading the tunnel, Mr. Maly retreated. He left. He did not stay in the

tunnel. He did not join the throng pushing against officers, shouting “Heave!” He

did not grab officers by their masks or shields. He did not assault them with bicycle

racks or flag poles. He did not throw objects at them or bludgeon them. He left.

Faced with the most violent aspect of the mob, Mr. Maly knew that he should not

remain there. And he left. He did what we would want people to do. When he saw a

line of police officers barricading an entrance, he turned around. He did not do so

immediately, nor did anyone else.2 He acted consistent with those around him who

were not engaging in overt acts of violence. When it became apparent that he should

leave and that being at the Capitol was unlawful and wrong, he left.

       This court is also faced with the fact that the weapon Mr. Maly was convicted

of using is one that is routinely used against people who are passively resisting law

enforcement. The government is asking the court to condone on the one hand law

enforcement’s regular use of pepper spray and also condemn as deadly force any

personal use of it against law enforcement. Officers—none of whom have been

prosecuted—are depicted at various points using pepper spray indiscriminately



2Mr. Maly is short of stature. There is no evidence he could have seen the line of officers before he
was nearly upon them. And the available evidence shows that he was in the tunnel briefly and left
shortly after arriving.
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against the crowd. And officers regularly are seen to use pepper spray and harsher

chemical weapons against passive individuals. Unless the government plans to

radically redefine the use of force continuum used by every police department in

this country, the government ought not consider minor amounts of pepper spray

used in outdoor settings to be seriously harmful. To be clear, Mr. Maly does not

argue that he would have been justified in using force against the police—the state

retains a monopoly on the legitimate use of violence. However, the government

should not argue on the one hand that pepper spray is perfectly reasonable to use

against unarmed civilians and on the other hand deadly or seriously dangerous

when used against police.

Why Mr. Maly’s testimony should not be consider perjurious or held

against him in determining his sentence.

      Mr. Maly exercised his constitutional right to testify at trial. The jury

disagreed with his version of events. But that does not mean that Mr. Maly

committed perjury. Mr. Maly could have told a version of events that he

legitimately believed to be true, even if the jury did not believe that his version

created a reasonable doubt about the government’s evidence. Simply testifying to a

version of events different than the government’s version should not equate to a

finding that Mr. Maly committed perjury. Indeed, the jury could have believed that

Mr. Maly was legally responsible for his actions as an accomplice and believed that

he told the truth in his testimony. Moreover, the jury could have found that Mr.

Maly’s actions in pointing pepper spray at officers constituted an assault. As such,
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they could have believed Mr. Maly’s testimony and still found him guilty of the

charges leveled against him. Unlike many cases, Mr. Maly’s testimony was not

directly inconsistent with the jury’s verdict. Given the charges and the culpability,

and given the one question posed by the jury, his testimony could be found

consistent with the verdicts.

Why Mr. Maly’s past minimally aggravates his position before the court,

but also provides a story of redemption.

      This court should also account for Mr. Maly’s personal story of redemption.

Mr. Maly recognizes that he does not come before the court with a clean slate.

Unlike many who participated in the January 6 events, Mr. Maly has a criminal

record that includes violent crimes and felonies. Most of that record is directly a

result of Mr. Maly’s substance abuse. He struggled with drug addiction and was

regularly involved in the criminal system while he abused drugs. However, Mr.

Maly’s criminal history is also a story that shows how people can overcome their

past. Since relocating to Virginia, Mr. Maly’s only interaction with the criminal

system was through incidental motor vehicle infractions.

      To be sure, Mr. Maly’s criminal record aggravates his position before the

court. But the court should also consider how prior criminal behavior was

completely irrelevant in the events that led Mr. Maly to be at the Capitol on

January 6. Surely someone’s criminal record is less probative of the sentence to be

imposed when the person engaged in behavior copied by thousands of others. Mr.

Maly does not have the lengthiest criminal record of those who engaged in criminal
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activity at the Capitol, nor have any data shown that a prior criminal record is

associated with those crimes. Indeed, many people were part of the insurrection

who had never before interacted with the American criminal legal system. How was

Mr. Maly supposed to have known better given his criminal record than anyone else

who was present at the Capitol? How can anyone say that his record makes his

actions any more harmful or any more deserving of punishment? When facing

unique events that cause massive criminal activity, surely a person’s past is less

important in deciding how to punish him.

      Mr. Maly is a father who provides for his family. He works as a flooring

contractor, earning a meager living and caring for his children. He spends what

little spare time he has being a family man. One of his children has special needs,

and Mr. Maly is devoted to his care and his rearing. His devotion to his family is

shown by the overcoming of his criminal record and his substance abuse. His

devotion to his family is shown by his perfect compliance on home detention

awaiting his trial. His devotion to his family is shown, frankly, by his motivations in

coming to Washington—however wrong his factual beliefs may have been, one

cannot discount that he believed his actions were aimed at protecting this country.

       Mr. Maly’s case shares much more in common with those this court has

sentenced to less than sixty months than those this court has sentenced far above

that period of time. Mr. Maly is not asking for the court to impose a specific

sentence. He intends to appeal his conviction. His counsel suggests that this court

impose a sentence of 36 months. Such a sentence is commensurate with others who
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engaged in minor acts of violence, but who were not responsible for wanton property

destruction, planning, organizing, or enticing others, nor serious acts of violence

that caused identifiable injuries. Such a sentence is commensurate with his

humanity, and is sufficient, but not greater than necessary.

      Respectfully submitted,

      /s/ Benjamin Schiffelbein
      Counsel for Mr. Maly
      Assistant Federal Public Defender
      Western District of Virginia
      210 First Street SW, Ste 400
      Benjamin_Schiffelbein@fd.org
      540 777 0880
